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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 BRISTOL MYERS SQUIBB COMPANY,

                 Plaintiff,
         v.                                         Case No. 1:24-cv-03337-DLF

 ROBERT F. KENNEDY, JR., et al.,

                 Defendants.




  UNOPPOSED MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF OF STATE
   AND REGIONAL HOSPITAL ASSOCIATIONS IN SUPPORT OF DEFENDANTS

       Pursuant to Local Rule 7(o), proposed amici curiae, 37 state and regional hospital

associations (“Proposed Amici”),1 respectfully move for leave to file the attached amici curiae

brief in support of Defendants.



1 The 37 Proposed Amici are identified in the appendix to the attached brief. They are: Arizona
Hospital and Healthcare Association; Arkansas Hospital Association; California Hospital
Association; Colorado Hospital Association; Connecticut Hospital Association; Delaware
Healthcare Association; Florida Hospital Association; Georgia Hospital Association; Greater New
York Hospital Association; Healthcare Association of Hawaii; Healthcare Association of New
York State; Hospital Association of Oregon; Idaho Hospital Association; Illinois Health and
Hospital Association; Indiana Hospital Association; Iowa Hospital Association; Kentucky
Hospital Association; Louisiana Hospital Association; Massachusetts Health & Hospital
Association; Michigan Health & Hospital Association; Mississippi Hospital Association; Missouri
Hospital Association; New Jersey Hospital Association; New Mexico Hospital Association; North
Carolina Healthcare Association; North Dakota Hospital Association; Ohio Hospital Association;
Oklahoma Hospital Association; Tennessee Hospital Association; The Hospital and Healthsystem
Association of Pennsylvania; Texas Hospital Association; Vermont Association of Hospitals and
Health Systems; Virginia Hospital & Healthcare Association; Washington State Hospital
Association; West Virginia Hospital Association; Wisconsin Hospital Association; and Wyoming
Hospital Association.
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        Proposed Amici represent thousands of hospitals and health systems across the United

States. Proposed Amici’s members participate in the 340B drug discount program (the “340B

Program”), which is essential to supporting hospitals in their service to their communities through

the delivery of high-quality, efficient, and accessible health care. Proposed Amici seek leave to file

the attached brief to provide the Court with information about how the 340B Program operates,

and to address the significant and adverse impact that Bristol Myers Squibb Company’s (“BMS’s”)

proposed rebate model would have on 340B hospitals and the patients and communities they serve.

As representative organizations for hospitals and health systems that participate in the 340B

Program, Proposed Amici have direct and extensive knowledge of how hospitals use the program

and implement its requirements.

        District courts have “inherent authority” to permit participation by amici. Jin v. Ministry

of State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008). This court regularly permits the filing of

amicus briefs where the proposed amici have an interest “that may be affected by the decision” in

the case, or otherwise have “unique information or perspective that can help the court.” Hard Drive

Prods., Inc. v. Does 1-1,495, 892 F. Supp. 2d 334, 337 (D.D.C. 2012) (internal quotation marks

omitted). As the Supreme Court recently recognized, the perspective of amici can be especially

valuable in cases like this one that entail the Court’s review of agency action involving technical

or specialized subject matter. See Loper Bright Enters. v. Raimondo, 603 U.S. 369, 402 (2024)

(“[A]mici in such cases are steeped in the subject matter, and reviewing courts have the benefit of

their perspective.”). Those considerations easily support Proposed Amici’s participation in this

case.

        The 340B Program enables covered entities, including many of Proposed Amici’s member

hospitals, to stretch scarce federal resources by purchasing outpatient drugs at reduced prices,



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allowing these institutions to reach more eligible patients and provide more comprehensive

services. The 340B Program is critical to Proposed Amici’s members’ ability to serve vulnerable

populations, particularly in low-income and rural communities. As the proposed brief notes,

BMS’s unlawful attempt to impose a rebate model for 340B pricing would significantly harm

Proposed Amici’s members by increasing costs and creating administrative burdens. As

organizations whose members will be directly affected by the outcome of this litigation, Proposed

Amici have a substantial interest in this case.

       Proposed Amici’s brief explains in detail how virtual inventory replenishment models work

in practice, addressing BMS’s mischaracterizations of these models and describing crucial

differences between replenishment models and BMS’s proposed rebate model. The proposed brief

also provides the Court important context for understanding why HRSA’s recognition of a rebate

model for AIDS Drug Assistance Programs (“ADAPs”) does not make its rejection of BMS’s

rebate proposal arbitrary and capricious. Finally, the proposed brief discusses alternative

mechanisms through which manufacturers could work with Proposed Amici’s member hospitals

and health systems to meet the manufacturers’ obligations under the Inflation Reduction Act, but

without implementing a 340B rebate model that violates the 340B statute. Proposed Amici

respectfully submit that this information will help the Court understand why HRSA’s rejection of

BMS’s rebate proposal was not arbitrary and capricious, but rather consistent with the purpose and

history of the 340B Program.

       The proposed brief is being filed within seven days of the filing of Defendants’ cross-

motion for summary judgment and therefore will not cause any delay in the proceedings.

Additionally, the brief focuses on specific issues relevant to the Court’s decision and endeavors to

avoid unnecessary duplication of arguments made by the parties or other amici.



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       Counsel for Proposed Amici has consulted with counsel for the parties. Plaintiff consents

to Proposed Amici’s motion, and Defendants take no position.

       For these reasons, Proposed Amici respectfully request that the Court grant their motion for

leave to file the proposed amici curiae brief.

       Dated: March 24, 2025


                                                     Respectfully submitted,


                                                     /s/ Scott D. Gallisdorfer

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2025, I electronically filed the above document with the

Clerk of Court via the Court’s CM/ECF electronic filing system, which will send a notice of

electronic filing to all counsel of record identified on the docket.



                                                       /s/ Scott D. Gallisdorfer
                                                       Counsel for Amici Curiae




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